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 AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                   FILED
                                                                                                                 July 22, 2024
                                     UNITED STATES DISTRICT COURT CLERK, U.S. DISTRJCT COURT
                                                                     for the                                 WESTERN DISTRICT OF TEXAS

                                                        Western District of Texas                      BY:       Myrna Gallegos
                                                                                                                              DEPUTY
                  United States of America                              )
                                V.                                      )

                  Omar AGUIRRE MARCIAL                                  )       Case No.             EP-24-MJ-3 104-ATB
                                                                       )

                                                                        )

                                                                       )

                                                                       )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                _____July 19, 2024                   in the county of                El Paso            in the
        Western        District of              Texas            ,   the defendant(s) violated:
             Code Section                                                         Offense Description
Title 21 usc 841 (a) (1)                         Knowingly, intentionally and unlawfully; manufacture, or distribute, or
                                                 dispense or possess with intent to manufacture, distribute, or dispense a
                                                 controlled substance; to wit, approximately 22.0 kilograms (gross weight) of
                                                 crystal methamphetamine a Schedule II controfled substance.

                                                 Conspiracy to possess with intent to distribute a controlled substance.
Title 21 usc 846


          This criminal complaint is based on these facts:
See Affidavit




          g Continued on the attached sheet.

                                                                                                  Complainant s signature

                                                                                           Sergio Enriquez, Special Agent
                                                                                                       tedneandti
Sworn to before me and signed in my presence.


Date:             07/22/2024
                                                                                                    Judge 's signature

City and state:                          El Paso, Texas                                Anne T. Berton, U.S. Magistrate Judge
                                                                                                  Printed name and title
                                                                                 Complaint sworn to telephonically on
                                                                                     July 22, 2024
                                                                                                   at t12 PM   and signed
                                                                                 electronically. FED.R.CRIM.P. 4.1(b)(2)(A)
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                                              FACTS

         On April of 2024, Strike Force I (SF1) comprised of the Drug Enforcement Administration
(DEA) and Homeland Security Investigations (HSI) Special Agents (SA) received a tip from a source
of information regarding an individual by the name of Omar AGUIRRE MARCIAL, hereinafter
referred to as AGUIRRE MARCIAL. The tip indicated that AGUIRRE MARCIAL was offering to
sell narcotics, specifically crystal methamphetamine and cocaine, at bars located in El Paso, Texas.
SF! agents then initiated an investigation on Omar AGUIRRE MARCIAL.

        SF! agents identified AGUIRRE MARCIAL using law enforcement databases. SF! agents
discovered that AGUIRRE MARCIAL was deported in 2019 for conspiracy to enter, transport, or
harbor aliens and was illegally residing in the United States due to his Visa being revoked. Upon
information obtained from an active HSI investigation, SF1 agents were notified that AGUIRRE
MARCIAL was potentially in illegal possession of a firearm(s).

        On July 19, 2024, SF1 agents received another tip regarding AGUIRRE MARCIAL
possessing crystal methamphetamine inside of his vehicle, a 2014 Buick Verano bearing Texas
license plates RZN-2746. Upon a law enforcement database search query, SF1 agents discovered that
the registration on the Buick Verano had expired since September of 2023. On the same date, SF!
agents attempted to detain AGUIRRE MARCIAL outside of his workplace, located at 6989
Commerce Ave., El Paso, Texas. Upon SF1 agents identifjing themselves, AGUIRRE MARCIAL
attempted to flee on foot. SF! agents eventually detained AGUIRRE MARCIAL and transported
him, as well as the Buick Verano, to HSI Special Agent in Charge (SAC) Office to interview him.

         At approximately 1:04 p.m. AGUIRRE MARCIAL granted SF1 agents consent to search his
Buick Verano, a Black Chevrolet Impala (Chihuahua, Mexico license plates: EPC I 40B), the two
cellular telephones in his possession, and his residence located at 6851 Ridge Top Dr., El Paso, TX
79904. Prior to SF! agents physically inspecting the Buick Verano, a non-intrusive canine sniff of
the vehicle was performed. The canine sniff resulted in a positive alert for the presence of odors
emanating from narcotics and/or narcotics residue in the trunk area of the Buick Verano. Upon a
physical inspection of the vehicle, SF1 agents discovered 11 bundles of crystal methamphetamine,
weighting approximately 11 kilograms, concealed inside of a brown duffle bag in the trunk and a
firearm in the center console of the Buick Verano. Upon a search performed on AGUIRRE
MARCIAL's residence, SF1 agents discovered an additional 11 bundles of crystal
methamphetamine, weighing approximately 11 kilograms. SF1 agents also discovered small plastic
baggies that contained cocaine and other drug paraphernalia.

        SF1 agents then read AGUIRRE MARCIAL's Miranda Rights in Spanish. AGUIRRE
MARCIAL stated he understood and agreed to speak to SF1 agents without the presence of an
attorney.

       AGUIRRE MARCIAL confessed to attempting to sell the 22 bundles of crystal
methamphetamine for $2,500.00 United States Currency (USC) each. AGUIRRE MARCIAL
confessed to SF1 agents that he was to receive $11,000.00 USC for the sale of the crystal
methamphetamine. AGUIRRE MARCIAL confessed to SF! agents that he was illegally in the
United States and was working under a counterfeit Mexican identification. When SF1 agents
confronted AGUIRRE MARCIAL regarding the firearm discovered in his Buick Verano, AGUIRRE
MARCIAL claimed ownership of it.
